Case 2:15-cr-20652-GCS-DRG ECF No. 1675-3 filed 09/09/20   PageID.23093   Page 1 of
                                      6




                                                           EXHIBIT            2
     Case 2:15-cr-20652-GCS-DRG ECF No. 1675-3 filed 09/09/20           PageID.23094   Page 2 of
                                           6



 1     In the hood where I’m from little niggas they murder
 2     Every night and day, another nigga get murdered, murder, murder, murder, murder,
 3     murder, murder, murder, murder, murder…
 4     In the hood where I’m from little niggas they murder
 5     Every night and day, little niggas get murdered, murder, murder, murder, murder,
 6     murder, murder, murder, murder, murder…
 7     Through the gun smoke, all you smell is murder
 8     In the hood where I’m from little niggas they murder
 9     Every night and day, little niggas get murdered, murder, murder, murder, murder,
10     murder, murder, murder, murder, murder…
11     Squad you die
12     Through the gun smoke, all you smell is murder
13     Coming from O-Die, also known as the Red Zone
14     We in this bitch wilding, killing niggas for fun, dog,
15     Leaving niggas stinkin’, stretched out in the bando,
16     Choppas is mandatory cause round here we don’t play, no
17     Games get you killed in GTA, we don’t play those,
18     Four eight two O-Die on fire just like a lit stove,
19     Bring that heat to you I’ll drop you just like I drop four
20     Blood everywhere, gun smoke in the air
21     Today I bought a choppa kill you, no it ain’t brand new
22     If I catch you with your daughter, that little dottie she gotta die too
23     Your face, her face, picture all on Fox 2
24     Fifty-five we an army, no fuck that, we some killers
25     While full of them pills uh, drug dealers, lean sippers,
26     Forty on me right now, you can take this bitch with you


                                                   1
Case 2:15-cr-20652-GCS-DRG ECF No. 1675-3 filed 09/09/20   PageID.23095   Page 3 of
                                      6




                                                           EXHIBIT            2
     Case 2:15-cr-20652-GCS-DRG ECF No. 1675-3 filed 09/09/20          PageID.23096      Page 4 of
                                           6



 1     Your family gonna miss you, your mom front row with that tissue screaming
 2     Why they do my baby like that, my baby like that
 3     In the hood where I’m from little niggas they murder
 4     Every night and day, little niggas get murdered, murder, murder, murder, murder,
 5     murder, murder, murder, murder, murder…
 6     Through the gun smoke, all you smell is murder
 7     In the hood where I’m from…Berenzo…little niggas they murder
 8     Every night and day, little niggas get murdered, murder, murder, murder, murder,
 9     murder, murder, murder, murder, murder…
10     Through the gun smoke, all you smell is murder
11     Red zone bitch with [UI] a place where you get your toe tag is random
12     Heard this bitch I had to sample, niggas still mad from past example
13     Real niggas be so proud to murder, all a nigga smell is loud ‘n murder
14     Hash street beef to the wildest murder, killing niggas as kids calling childish
15     murders
16     Still ride around with extended clips, don’t squash shit we finish shit
17     My hood, my squad, I’m in this shit
18     When I was locked grand yards, [UI] there were shooters over here, my rides
19     completed
20     Me and my niggas got a choppa piece and if you in the zone you bound to cross,
21     you get your ass clapped like a round of applause,
22     Fast life, different cases, blow all up on you niggas faces
23     Strap life you niggas fakin I do this shit for my niggas ain’t make it
24     Berenzo bitch still murder niggas, get a good fresh air murder nigga
25     Lotta these niggas I ain’t heard of nigga, leave a shell in your back like a turtle
26     nigga
27     In the hood where I’m from little niggas they murder


                                                  2
     Case 2:15-cr-20652-GCS-DRG ECF No. 1675-3 filed 09/09/20        PageID.23097   Page 5 of
                                           6



 1     Every night and day, little niggas get murdered, murder, murder, murder, murder,
 2     murder, murder, murder, murder, murder…
 3     Through the gun smoke, all you smell is murder
 4     In the hood where I’m from little niggas they murder
 5     Every night and day, little niggas get murdered, murder, murder, murder, murder,
 6     murder, murder, murder, murder, murder…
 7     Through the gun smoke, all you smell is murder
 8     Little niggas they thuggin, human life ain’t mean nothing
 9     They kill you just as you mugging, my little niggas don’t play around
10     Red Zone not no playground, they fell in love with that K sound
11     Nigga I’m from that one way, ya’ll niggas they about gun play
12     When it be they don’t run away, catchin bodies is fun play
13     Have you gone in like one day, said I’m gonna to where my lay
14     Baby ma and ya son stay
15     We better keep it with burner, little niggas [UI]
16     Swear to God they will burn ya
17     Niggas call me C Murda, all I’m seein is murder
18     Disrespect and I’ll murk ya
19     All you hearin is gun shots, all you smelling is gun smoke,
20     You ain’t ready for gun war, what you carry a gun for?
21     We don’t get down to snitching, don’t need on murder witness
22     If a nigga start snitching, guaranteed he be missing
23     In the hood where I’m from little niggas they murder
24     Every night and day, little niggas get murdered, murder, murder, murder, murder,
25     murder, murder, murder, murder, murder…
26     Through the gun smoke, all you smell is murder


                                                 3
    Case 2:15-cr-20652-GCS-DRG ECF No. 1675-3 filed 09/09/20      PageID.23098   Page 6 of
                                          6



1     In the hood where I’m from little niggas they murder
2     Every night and day, little niggas get murdered, murder, murder, murder, murder,
3     murder, murder, murder, murder, murder…




                                              4
